12/19/2017


        Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 1 of 46
                        IN THE UNITED ST ATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    No. ________

TJF SERVICES, INC., d/b/a CAPE FEAR
FLOORING & RESTORATION, CHAPPELL
CREATIVE, INC., RUSTY ALLEN INSURANCE,           )
LLC and CHRIS HERRMANN, on behalf of each of     )
them and all others similarly situated,          )
       Plaintiff(s),                             )
                                                 )
                                                 )
               v.                                )     SUPPLEMENTAL REMOVAL COVER
                                                 )               SHEET
TRANSPORTATION MEDIA, INC. d/b/a BENCH           )
CRAFT COMPANY, an Oregon corporation             )
                                                 )
       Defendant(s).                             )


      The removing party must complete this Supplemental Removal Cover Sheet and
comply with Local Civil Rule 5.3. Attach separate sheets as necessary to provide complete
responses.

Section A-Plaintiffs

List the full name of each plaintiff from the state court action and indicate whether the plaintiff is
pending (i.e., in case currently), dismissed, or otherwise terminated at the time of removal. If
dismissed or terminated, indicate the date of dismissal/termination

                                                     Pending at time   Dismissed or Date of
Full Name of Plaintiff                               of removal-       terminated? Dismissal or
                                                     Yes/No?           Yes/No?      Termination
TJF SERVICES, INC. d/bla CAPE FEAR
FLOORING & RESTORA T!ON                              YES               NO                NIA

CHAPPELL CREATIVE, INC.                              YES               NO                NIA

RUSTY ALLEN INSURANCE, LLC                           YES               NO                NIA

CHRIS HERRMANN                                       YES               NO                 NIA




       Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 2 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 3 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 4 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 5 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 6 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 7 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 8 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 9 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 10 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 11 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 12 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 13 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 14 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 15 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 16 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 17 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 18 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 19 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 20 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 21 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 22 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 23 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 24 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 25 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 26 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 27 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 28 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 29 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 30 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 31 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 32 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 33 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 34 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 35 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 36 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 37 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 38 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 39 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 40 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 41 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 42 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 43 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 44 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 45 of 46
Case 5:17-cv-00626-RN Document 1 Filed 12/19/17 Page 46 of 46
